8:02-cr-00353-BCB-SMB       Doc # 668     Filed: 07/09/08    Page 1 of 1 - Page ID # 3797




                     IN THE UNITED STATES DISTRICT COURT
                         FOR THE DISTRICT OF NEBRASKA

UNITED STATES OF AMERICA,                    )              CASE NO. 8:02CR353
                                             )
             Plaintiff,                      )
                                             )
             vs.                             )                    ORDER
                                             )
ROY C. STRAUGHAN,                            )
                                             )
             Defendant.                      )

      This matter is before the Court on the Defendant’s motion regarding a potential

reduction in sentence pursuant to crack cocaine Amendment 706 (Filing No. 657).

Defense counsel has been appointed but has not yet entered an appearance. (Filing No.

658.) The probation office has prepared a worksheet recommending a reduction.

      IT IS ORDERED that the government must file a brief, or the parties must file a joint

stipulation within thirty (30) days from the date of this order, regarding the Defendant’s

potential reduction in sentence pursuant to crack cocaine Amendment 706;

      DATED this 9th day of July, 2008.

                                                 BY THE COURT:


                                                 s/Laurie Smith Camp
                                                 United States District Judge
